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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA



UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,
    100 F Street, N.E.
    Washington, DC 20549

             Plaintiff,

      v.

NANOTECH ENGINEERING,INC.,
     2601 Main Street, Suite 370
     Irvine, CA 92614
MICHAEL JAMES SWEANEY (also
known as Michael Hatton),                       Case No.
     2555 Main Street, Apt. 3050
     Irvine, CA 92614
DAVID SWEANEY,
     2649 Bison Road
     Fort Collins, CO 80525
and JEFFERY    GANGE,
     33 Elizabeth Lane
     Irvine, CA 92602

             Defendants,

      and

NANOTECH FINANCE LLC,
    33 Elizabeth Lane
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     Irvine, CA 92602
OM1VI GOLF,LLC,
     33 Elizabeth Lane
     Irvine, CA 92602
and 3 DRAGONS LLC,
     2649 Bison Road
     Fort Collins, CO 80525

                Relief Defendants.


                                      COMPLAINT

      Plaintiff United States Securities and Exchange Commission ("SEC") alleges

as follows:

                                        SUMMARY

      1.        This is an emergency action seeking to, inter alia, freeze funds held by

the Defendants and Relief Defendants so that the Defendants, who are presently

perpetrating an ongoing securities fraud, cannot abscond with, transfer, convert, or

further dissipate assets received from, and rightfully belonging to, more than one

hundred investor-victims.

      2.        As set forth below, convicted securities fraudster Michael James

Sweaney ("Michael Sweaney") and the other Defendants are engaged in an ongoing

fraudulent offering of the securities of Nanotech Engineering, Inc.("Nanotech")

Over the last two ,years, the Defendants and others have solicited more than $9.4

million in investments from more than one hundred people through deceptive acts,

including misrepresenting and omitting material facts in filings with the SEC and

in private placement memoranda ("PPM(s)"). The Defendants' deceptive conduct

has concealed from investors not only Michael Sweaney's prior criminal conviction,
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but also the misappropriation of more than $2.4 million in investor funds by the

Defendants —including the Defendants' purchases of a yacht, several sports cars,

and cosmetic surgery.

      3.     Starting on approximately September 15, 2017 and continuing through

the present, Defendant Michael Sweaney, masquerading under the pseudonym

"Michael Hatton," served as Chief Financial Officer of Nanotech, while his nephew,

Defendant David Sweaney, served as Chief Executive Officer, and Defendant

Jeffery Gange ("Gange") served as Chief Operations Officer. During this time,

Nanotech employees were pressured to, and did, cold-call potential investors from

Alaska to Florida, many of whom purchased Nanotech shares.

      4.     Nanotech filed three separate Forms D with the SEC asserting that

this offering of shares was exempt from the registration requirements of the

Securities Act of 1933 ("Securities Act"). Those Forms D contained multiple

misrepresentations and omissions of material facts, including:(a) the failure to

disclose Michael Sweaney's role with the company and thereby omitting the fact

that he had previously been convicted of felony securities fraud,(b) the false

statements that Nanotech's executive officers, including the Defendants, would

receive only $15 of investor funds when the Defendants had, in fact, directly and

indirectly, received more than $900,000 by the time the most recent Form D was

filed, and (c) misrepresentations regarding amount of investor money that would be

used to pay commissions to Nanotech employees for convincing victims to invest.




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       5.     Nanotech, a Delaware Corporation with operations in Colorado and

California, employed numerous "sales agents"(actually unlicensed stockbrokers

being paid on a commission basis) in a "boiler-room"-type environment. These sales

agents cold-called potential investors across the country. Investors were convinced

to invest by dubious claims of apatent-pending invention that would change the

world: the allegedly revolutionary "Nanopanel" solar panel. As stated in Nanotech's

PPM:

       Solar panels need no longer be large, heavy, fragile, expensive to
       manufacture and install, with only 20% efficiency. Nanotech
       Engineering has invented what we believe to be the last generation
       Solar Panel, thin, lightweight, stronger than steel, yet flexible and
       three to four times more efficient ...Also, our panels will allow the use
       of solar in parts of the world that would otherwise not use solar due to
       a lack of sunny weather. Even if a customer is only getting 40%
       efficiency in a non-sunny part of the world, that is still double that of
       traditional panels.

       6.     Potential investors were provided with a PPM,and if they decided to

invest, a subscription agreement, which outlined the terms of the investment.

       7.     Nanotech's website, www.nanotechengineeringinc.com, has this PPM

available for potential investors to download. The PPM on Nanotech's website also

contains multiple material misrepresentations and omissions, including (a) falsely

identifying Nanotech's CFO (Michael Sweaney) as "Michael Hatton,"(b) misleading

investors about the fact that investor money would be diverted to other entities in

which the Defendants and/or other Nanotech employees had an interest, and (c)

misleading investors about the fact that Michael Sweaney, David Sweaney, and

Gange were misappropriating investor money from Nanotech for their personal use.
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      8.      As of December 4, 2019, Nanotech's website continues to operate and

Nanotech continues to solicit additional investor funds.

      9.      By knowingly or recklessly engaging in the conduct described in this

Complaint, the Defendants violated, and unless enjoined will continue to violate,

Section 17(a) of the Securities, and Section 10(b) of the Securities Exchange Act of

1934("Exchange Act") and Rule lOb-5 thereunder.

      10.     Contemporaneously with the filing of this Complaint, the SEC seeks a

temporary restraining order:

              a.    freezing the assets held by the Defendants and Relief

Defendants;

              b.    requiring an accounting;

              c.    preserving all existing documents related to this action;

              d.    providing for expedited discovery, particularly with respect to

the location of additional investor funds; and

              e.    requiring the Defendants to show cause why the Court should

not issue a Preliminary Injunction imposing the requested relief during the

pendency of this action.

      11.     Through this action, the SEC also seeks:

              a.    entry of a permanent injunction prohibiting the Defendants

from further violations of the federal securities laws;

              b.    orders prohibiting the individual defendants from serving as

officers or directors of a public company;




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              c.    disgorgement of the Defendants' ill-gotten gains, together with

prejudgment interest;

              d.    disgorgement from the Relief Defendants of all unjust

enrichment and/or ill-gotten gains received from the Defendants, together with

prejudgment interest; and

              e.    orders imposing civil penalties as to each Defendant.

                              ~TURISDICTION AND VENUE

      11.     The SEC brings this action pursuant to Sections 20(b) and 20(d) of the

Securities Act,[15 U.S.C. §§ 77t(b) and 77t(d)] and Section 21(d) of the Exchange

Act [15 U.S.C. §§ 78u(d)] to enjoin such transactions, acts, practices, and courses of

business, and to obtain disgorgement, prejudgment interest, civil money penalties,

and such other and further relief as the Court may deem just and appropriate.

      12.     This Court has jurisdiction over this action pursuant to Section 22(a) of

the Securities Act [15 U.S.C. § 77v(a)] and Sections 21(d), 21(e), and 27 of the

Exchange Act [15 U.S.C. §§ 78u(d), 78u(e), and 78aa].

      13.     Venue in this District is proper pursuant to Section 22(a) of the

Securities Act [15 U.S.C. § 77v(a)] and Section 27 of the Exchange Act [15 U.S.C. §

78aa]. Defendant Nanotech filed with the SEC in this judicial district three

materially false and misleading Forms D signed by Defendant Gange. Investor

victims are located across the country, with addresses in at least 25 states,

including Alaska, Washington State, Missouri, Maryland, Florida, and Texas.
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      14.     Additionally, certain of the transactions, acts, practices, and courses of

business constituting the violations alleged herein were effected, directly or

indirectly, by making use of the means or instruments or instrumentalities of

transportation or communication in interstate commerce, or of the mails.

                                     DEFENDANTS

      15.     Nanotech Engineering,Inc.("Nanotech")is a Delaware

corporation formed on August 14, 2017. Nanotech maintains its principal place of

business at 2601 Main Street, Suite 370, Irvine, California, and also has a facility

located at 140 2nd St. SW, Loveland, Colorado. Neither Nanotech nor its securities

have ever been registered with the SEC. Nanotech purports to be in the business of

developing revolutionary solar panels. From August 14, 2017 to the present,

Nanotech has had no discernable source of income or revenue —virtually all of its

funds appear to be investor funds.

      16.     Michael James Sweaney, a.k.a Michael Hatton, age 56, is a

resident of Irvine, California. Michael Sweaney, operating under the alias "Michael

Hatton," serves as the Chief Financial Officer of Nanotech. In February 1998,

Michael Sweaney pleaded guilty to one count of felony securities fraud in Nevada

state court, was ordered to pay restitution to ten investors, and was sentenced to a

12-to-32-month suspended prison sentence, suspended in favor of two years of

probation. Despite efforts to hide his true identity from Nanotech investors,

Michael Sweaney has listed his legal name on multiple Nanotech bank forms.
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During the fraud, as detailed below, Michael Sweaney diverted at least $550,000 in

investor funds for his personal use.

       17.     David Sweaney, age 40, is a resident of Fort Collins, Colorado. David

Sweaney serves as the Chief Executive Officer of Nanotech and is Michael

Sweeney's nephew. David Sweaney diverted at least $240,000 in investor funds for

his personal use.

       18.     Jeffery Gange ("Gange"), age 57, is a resident of Irvine, California.

Gange serves as Nanotech's Chief Operations Officer. Gange signed each of the

three materially false and misleading Forms D that Nanotech filed with the SEC.

Gange diverted at least $160,000 in investor funds for his personal use.

                                 RELIEF DEFENDANTS

       19.     Nanotech Finance LLC ("Nanotech Finance")is a Delaware

limited liability corporation, with its principal place of business in Irvine,

California. Its single member and manager is Defendant Gange. Nanotech Finance

received at least $650,000 in ill-gotten gains during the scheme.

      20.      Omni Golf, LLC("Omni Golf')is a California limited liability

corporation, with its principal place of business in Irvine, California. Omni Golf's

registered address is the same address as Nanotech's address in its May 17, 2018

and June 14, 2018 Forms D, and its sole registered member is Defendant Gange.

Omni Golf received at least $400,000 in ill-gotten gains during the scheme.

      21.      3 Dragons LLC ("3 Dragons")is a Colorado limited liability

corporation, with its principal place of business in Avon, Colorado. 3 Dragons was




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originally formed by a person who appears to be a relative of David Sweaney, and

David Sweaney is listed as an LLC member. 3 Dragons received at least $480,000

in ill-gotten gains via checks during the scheme.

                               THE NANOTECH FRAUD

                 Nanotech's Purported "Revolutionary"Business

      22.     Nanotech purports to be developing the "Nanopanel," an innovative

solar panel. As described on the Nanotech website, the Nanopanel is "a lightweight,

stronger than steel yet flexible Solar Panel that is more than three times more

efficient than traditional solar." Nanotech claims that its solar products "[s]urpass~

any substance other than reactor-grade uranium regarding energy produced per

pound of material." In Nanotech's own words, its Nanopanels are nothing short of

revolutionary:

      Our Nano Solar Panels now give consumers a positive return on
      investment, making them the ideal choice, and demand for our panels
      shall be enormous and immediate.

      At Nanotech Engineering Inc. we are developing Solar Panels the size
      of a FedEx Envelope. By layering sheets of Graphene as a
      substructure, we put a Carbon Nanotube Forest over the top, with our
      proprietary mineral solution. As the Sun's rays hit the array, electrons
      are generated through the forest much faster than Silicon.

      Clearly in less than ideal weather this number drops, however the
      Panels are still more efficient than traditional solar panels in cloudy
      weather, remember photons still move through clouds, so that we will
      see panels in places previously unthinkable in the past.

      Our solar panels are combined using Graphene sheets into a single
      structure, from there a Graphene Forest is applied on the surface with
      our proprietary minerals, creating a lightweight panel that is stronger
      than steel yet has pushed the upper limits of the energy that can be
      received and used by the Sun. In short this is by far the most efficient



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      Solar Panel ever created. Every photon that hits graphene creates
      three electrons.

      Our main market is replacing the old Solar Panels and applications for
      those that otherwise wouldn't use solar. We also are anticipating
      applications in parts of the world that have less than ideal weather, if
      our panel can for example only get 40% in New York, or 20% in
      Denmark, it will be used, achieving the dream of a solar world!

     The Commencement of Nanotech's Fraudulent Securities Offering

      23.     Beginning in approximately September 2017, Nanotech began selling

securities —shares of Nanotech — through a private placement memorandum. These

securities were not registered with the SEC. The shares were priced at $2.80 per

share, and the company stated that it planned to se1124 million shares — a capital

raise of $67.2 million —which, allegedly, represented 25% of the equity of Nanotech.

Thus, the Defendants indicated that, if the capital raise was successful, Nanotech

would have a valuation of approximately $268 million. The stated minimum

investment amount was $28,000, though Nanotech sometimes accepted investments

of smaller amounts.

      24.     Broadly speaking, Section 5 of the Securities Act [15 U.S.C. § 77e]

makes it unlawful to offer or sell a security in interstate commerce unless there is a

registration statement in effect for the security, or unless certain exemptions apply.

      25.     Regulation D [17 C.F.R. § 230.501, et seq.] provides for multiple

exemptions to Section 5's registration requirement.

      26.     The Defendants asserted that their offering of unregistered Nanotech

securities was exempt from Section 5's registration requirement pursuant to

Regulation D, Section 506(c)[17 C.F.R. § 230.506].



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      27.     If a company is offering and selling securities in reliance on certain

provisions of Regulation D,including Section 506(c), it is required to file a Form D

with the SEC within 15 days of the first sale of security, and Form D sets forth a

list of information that the Company is required to provide, including:.

                 • A list of related persons —defined to include:"Each executive

                    officer and director of the issuer and person performing similar

                    functions ..."(Item 3);

                 • The name and address "for each person that has been paid or

                    will be paid directly or indirectly any commission or other

                    similar compensation in cash or other consideration in

                    connection with the sales of securities in the offering ..."(Item

                    12);

                 • The amount of sales commissions paid, or estimated to be paid

                    (Item 15); and

                 • The "amount of the gross proceeds of the offering that has been

                    or is proposed to be used for payments to any of the persons

                    required to be named as executive officers, directors or

                    promotors in response to Item 3"(Item 16).

      28.     17 C.F.R. § 239.500 requires, inter alia, that any entity that has filed a

Form D must amend that Form D, as soon as practicable,(a) to correct any material

mistake of fact, or (b) when there is increase of more than 10% in the amount of




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commissions, finders' fees or use of proceeds for payments to executive officers,

directors or promoters.

      29.     The Nanotech shares that were offered and sold are securities under

the federal securities law. Not only are equity shares sold for investment purposes a

classic example of a security, but also Nanotech's private placement memorandum

refers to the shares as a "Regulation `D', 506C Covered Security." Additionally, each

of the three Forms D that Nanotech filed with the SEC is entitled "Notice of Exempt

Offering of Securities" and specifies the type of securities being offered as "Equity."

      30.     Nanotech employs a team of"telephone sales agents" to cold-call

potential investors. These "sales agents" have, at least at times, been paid on a

commission basis, meaning that they are actually securities "brokers" within the

meaning of Section 15(a)(1) of the Exchange Act [15 U.S.C. § 78o(a)(1)], because

receiving transaction-based commissions is one of the hallmarks of a broker.

      31.     When sales agents call potential investors, they try to get them to view

a web-share presentation and, ultimately, to invest. Potential investors are then

provided with Nanotech's banking information so that they can transfer /wire funds

to Nanotech. Potential investors are also provided with copies of a private

placement memorandum, which allegedly provides information about Nanotech.

      32.     In total, starting in September 2017 and continuing to at least October

22, 2019, Nanotech's bank records reflect that it has raised at least $9.4 million

from investors. One investor alone appears to have sent $2,000,000 to Nanotech.




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      33.     Bank and shipping records indicate that Nanotech's investors live

across the country in at least 25 states.

            Nanotech Filed Its First Misleading Form D in May 2018

      34.     On May 17, 2018, more than seven months after Regulation D's 15-day

deadline had passed, Nanotech filed its first Form D with the SEC regarding this

offering. In that Form D, Nanotech proposed offering $30 million worth of equity

shares and indicated that $1.2 million had already been sold to 41 investors.

      35.     This May 2018 Form D had multiple misstatements and omissions of

material facts that were never corrected by Nanotech.

      36.     In Item 3,(Related Persons) of its May 2018 Form D, Nanotech listed

only David Sweaney.

      37.     In reality, multiple other persons served as Nanotech's executive

officers, including, at least, Michael Sweaney and Gange.

      38.     The failure to list Michael Sweaney and Gange was not only

misleading, but materially so; it was part of a scheme to hide the role of convicted

felon Michael Sweaney.

      39.      In Item 12(name and address of persons to be paid commission) of its

May 2018 Form D Nanotech, again, listed only David Sweaney.

      40.     In reality, Nanotech paid sales commissions to numerous other people.

      41.     The failure to list other persons being paid sales commissions was not

only misleading, but materially so as it concealed the boiler-room operation

Nanotech ran to sell its shares.




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      42.     And again, in Item 16(amount of proceeds to related persons) of its

May 2018 Form D, Nanotech disclosed that David Sweaney would receive only $15.

This was false and misleading for multiple reasons.

      43.     First, in reality, by May 17, 2018 when Nanotech filed this Form D,

David Sweaney had already received $129,500 offunds raised through this offering.

      44.     Second, by May 17, 2018, 3 Dragons had already received $11,000 of

funds raised through this offering, and David Sweaney is a one of the three

members of 3 Dragons.

      45.     Third, Item 16 not only requires the issuer to list proceeds that have

been or are proposed to be given to people who are listed in Item 3, but to "any of

the persons required to be named as executive officers, directors, or promoters in

response to Item 3 above." Thus, Nanotech was required to (but did not) disclose the

proceeds given to Michael Sweaney and Gange.

      46.     By May 17, 2018, Michael Sweaney had received $82,500 in proceeds

from this offering. And, by May 17, 2018, Gange had received $11,375 in proceeds

from this offering.

      47.     Gange signed this Form D on behalf of Nanotech, which was

electronically filed with the SEC in this judicial district. The Form D was and is

available to the public through the SEC's EDGAR system.

         Nanotech Filed Its Second Misleading Form D in June 2018

      48.     On June 14, 2018, Nanotech filed a second, amended Form D, which

was incorrectly marked as a new notice. In the June 2018 Form D, Nanotech




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proposed to raise $67.2 million from selling equity shares, and indicated that $1.3

million had already been sold to 41 investors.

      49.     This June 2018 Form D repeated the same material

misrepresentations and omissions as the May 2018 Form D, although by then the

Defendants had diverted to themselves far more investor money: David Sweaney

had received $129,500, 3 Dragons had received $61,000, Michael Sweaney had

received $97,500, and Gange had taken $14,375.

      50.     Again, Gange signed the Form D on behalf of Nanotech and

electronically filed it with the SEC. This second, false Form D was and is available

to the public through the SEC's EDGAR system.

       Nanotech Filed Its Third Misleading Form D in February 2019

      51.     On February 11, 2019, Nanotech filed a third Form D, which was again

incorrectly marked as a new notice, rather than as an amendment to the previous

Form D. In the February 2019 Form D, Nanotech still proposed to raise $67.2

million by selling equity shares, but now falsely indicated that $3.6 million in

securities had already been sold to 140 investors. An analysis of Nanotech's bank

records shows that, in fact, more than $4.8 million had been raised from investors

by that point.

      52.     This February 2019 Form D also repeated the same material

misrepresentations and omissions as Nanotech's prior two Forms D, although by

then the Defendants had diverted to themselves even more investor money: David

Sweaney had received $129,500, 3 Dragons had received $478,129, Michael




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Sweaney had received $234,050, Gange had received $35,815, and Omni Golf had

received $72,000.

      53.     Additionally, in Item 15(amount of commissions), Nanotech stated

that the amount of commissions was or would be only $100. Notably, this was a

decrease from the May and June 2018 Forms D, which indicated commission

payments in excess of $100,000.

      54.     In reality, by February 11, 2019, when Nanotech had filed its third

Form D, Nanotech had already paid at least $103,012 in commissions.

      55.     The amount of commissions Nanotech listed is not only false, but

materially so, as any reasonable investor would want to know how much of their

investment was going to pay commissions on sales of Nanotech securities instead of

actually being invested in the company.

      56.     As with the prior false Forms D, Gange signed the filing on behalf of

Nanotech and electronically filed with the SEC. Again, the Form D was and is

available to the public through the SEC's EDGAR system.

       Nanotech Used a Misleading Private Placement Memorandum

      57.     When issuers sell securities pursuant to one of the Regulation D

exemptions, they often provide investors, and prospective investors, with a private

placement memorandum, which contains key information about the issuer.

      58.     Nanotech's website has their current PPM available for download by

investors Nanotech sales agents have contacted.




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      59.     The PPM has multiple misstatements and omissions of material facts,

including (a) falsely stating that the CFO's name was Michael Hatton,(b)falsely

stating that investor money would be used only for overhead expenses and the

manufacture of Nanopanels, when executives in fact used a significant portion of

investor money to support their lavish lifestyle, and (c) failing to disclose that

investor money was being transferred to other entities owned or controlled by

Nanotech executives.

      60.     Specifically, page 18 of the PPM identifies one of Nanotech's "[k]ey

personnel" as "Michael Hatton, Chief Financial Officer." Again, this was false;

Nanotech's CFO was, in fact, Michael Sweaney.

      61.     Misrepresenting the CFO's name in the PPM was part of a scheme to

conceal Michael Sweaney's true identity and prior conviction for felony securities

fraud. That the CFO of a company engaged in an unregistered offering of securities

was previously convicted of felony securities fraud is a fact that any reasonable

investor would want to know before deciding whether to invest.

      62.     The PPM, at page 29, also states that:"Nanotech Engineering and its

managers have no lawsuits pending, no legal actions pending, or judgments entered

against Nanotech Engineering or its managers and, to the best knowledge of

Nanotech Engineering, no legal actions are contemplated against Nanotech

Engineering and its managers."

      63.     In reality, however, Michael Sweaney has multiple civil judgments

against him, including a $46,020 state tax judgment from 2008 that remains




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outstanding, as well as, again, the judgment of conviction relating to his prior felony

securities fraud.

      64.      Importantly, the PPM also contains numerous representations about

the use of investor funds, including:

          a. "Nanotech Engineering will use the proceeds of this offering to

               complete our solar panel(the NanopanelTM ), based on Nanotechnology,

               and bring the NanopanelTM to market.

            b. A chart listing that of the $67,200,000 to be raised in the offering,

               $11,088,000 will be used for "Operations/syndication cost" and the

              "Balance of capitol for NanopanelTM production will be $56,112,000."

      65.      The PPM does not disclose in any fashion that investor funds would be

used by executives for personal expenses, but rather indicates that all funds would

be used for "Operations/syndication cost" and Nanopanel production.

      66.      A reasonable investor would want to know that the funds that

Nanotech had promised would be used for corporate overhead and/or manufacture

of the Nanopanel were, instead, being used by executives for personal purchases.

      67.      Similarly, the PPM does not disclose in any fashion that investor funds

would be transferred to executives.

      68.      In truth and fact, however, a material percentage of all investor funds

were transferred to Michael Sweaney, David Sweaney and Gange.

      69.      A reasonable investor would want to know about these transfers.
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      70.     The PPM does not disclose in any fashion that investor funds would be

transferred to entities in which executives had a beneficial interest.

      71.     In truth and fact, a material percentage of all investor funds were

transferred to entities in which Michael Sweaney, David Sweaney and Gange

owned or controlled.

      72.     The PPM contains only one disclosure about only one of the Relief

Defendants, and even that disclosure is misleading:

              We have licensed our Graphene Golf Shafts to Omni Golf
              Inc., a new golf club manufacturer that will be breaking
              into the market with shafts that are more powerful, and
              whip back into place faster since the graphene corrects
              itself quicker than graphite or steel.

      73.     Even assuming that Nanotech has, in fact, developed "Graphene Golf

Shafts" and executed such a licensing agreement, this disclosure still fails to

disclose that (a) Omni Golf is controlled by one of Nanotech's executives, Gange,(b)

Omni Golf has not paid any money to Nanotech for this license, and (c) that, in fact,

Nanotech sent money to Omni Golf, which is the opposite of the situation suggested

by the disclosure.

      74.     Again, a reasonable investor would want to know that their funds were

transferred to entities owned and controlled by Nanotech's executives.

             THE DEFENDANTS'MISAPPROPRIATION OF INVESTOR FUNDS

      75.     The charts and paragraphs 76-114 below identify spending and direct

transfers offunds the SEC has traced to Defendants and Relief Defendants so far,

though further investigation may reveal more.




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      76.     Nanotech has received little to no revenue during the course of the

scheme, a fact which Nanotech confirmed in its Forms D when Nanotech indicated

that it had "no revenues."

      77.     An analysis of Nanotech's bank accounts corroborates Nanotech's

statement in this regard. Nanotech's various bank accounts received a total of $10.6

million in incoming funds, but more than $1 million of that was simply transfers

from one Nanotech account to another, resulting in a net of $9.6 million in incoming

funds. Of that, at least $9.51 million are demonstrably investor funds. Thus, non-

investor funds, if any, are limited to approximately $90,000, and more likely less

than that (if any). Yet, as the chart below shows, the three individual Defendants

have, either directly to themselves or through the Relief Defendants, diverted to

themselves far in excess of that amount, at least $2,494,029.


 Funds misappropriated through the Defendants'                   At least $458,962.13
 non-business spending

 Funds misappropriated through transfers to the                  At least $498,791.77
 individual Defendants

 Funds misappropriated through transfers to the                 At least $1,536,275.11
 Relief Defendants

                                               TOTAL:        At least $2,494,029.01

      78.     Because Nanotech has virtually no source offunds other than

investors, the moneys diverted to the Defendants from Nanotech are entirely or

almost entirely investor funds.




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        The Defendants Are Using Investor Funds to Pay for a Yacht
                      and Other Personal Expenses

      79.     In total, Defendants Michael Sweaney, David Sweaney, and Gange

have transferred hundreds of thousands of dollars of investor money to themselves,

and used hundreds of thousands more for personal purchases.

Michael Sweaney's misappropriation offunds

      80.     On May 14 and 21, 2019, Nanotech transferred a total of $208,500 to a

yacht company in Dana Point, California.

      81.     Records from the yacht company show that this $208,500 was for the

purchase of a forty-six foot Sea Ray yacht named the "Bella Vita." The named

purchaser of the yacht was "Michael Hatton," the alias used by Michael Sweaney.

      82.     Nowhere in any of Nanotech's private placement memoranda or filings

with the SEC has Nanotech indicated that its CFO would use investor funds to

purchase a yacht.

      83.     Michael Sweaney also received $301,550 in direct transfers offunds

from Nanotech.

      84.     The chart below shows the total spending and direct transfers of funds

the SEC has traced directly to Michael Sweaney. The below figures do not include

amounts diverted to Defendant Michael Sweeney through the Relief Defendants.

 Funds Transferred to or Used b Michael Sweane              Hatton)
  Direct Transfers                                                       $301,550.00
  Yacht                                                                  $208,500.00
  Cosmetic/Dermatolo                                                      $39,549.17
  Dental                                                                   $3,440.00
  Other (MedicallFitness/Fertilit /O tometr                                  $605.00
                                                           TOTAL         $553,644.17


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David Sweaney's misappropriation offunds

      85.     Similarly, David Sweaney received $133,926.19 in direct transfers of

funds from Nanotech.

      86.     David Sweaney also used Nanotech funds for non-business expenses,

including spending at least $18,643.50 on luxury fashion goods (e.g., Gucci, Louis

Vuitton, etc.).

      87.     The chart below shows the total spending and direct transfers offunds

the SEC has traced to Michael Sweaney. The below figures do not include amounts

diverted to Defendant David Sweeney through the Relief Defendants.

 Funds Transferred to or Used b David Sweane
  Direct Transfers                                                       $133,926.19
  Yacht Related Ex enses                                                   $6,166.90
  Cosmetic/Dermatolo                                                       $9,754.00
  Dental                                                                  $37,557.00
  Beaut /S a                                                               $1,218.10
  Other (MedicaUFitness/Fertilit /O tometr)                                $7,968.68
  Luxur Fashions                                                          $18,643.50
  Jewelr                                                                  $25,391.26
                                                          TOTAL          $240,625.63


Gange's misappropriation offunds

      88.     In October 2018 and February/March 2019 Gange spent over $100,000

in Nanotech funds to purchase two Maserati sport cars.

      89.     Gange also received $63,315.58 in direct transfers from Nanotech.

Additional Misappropriation of Funds

      90.     In addition to the amounts specified above, more than $100,000 of

investor funds were spent by the Defendants on obviously non-business items such



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as vaping products. At present, the SEC is not able to determine which individual

spent these funds, but regardless, investor funds were misappropriated for the

personal use of one or more of the principals of Nanotech. The chart below

summarizes the additional spending identified to date:

 Other Company Misappropriations(Not Yet Attributed to a Specific
 Individual Defendant
   Yacht Related Ex enses                                     $57,308.33
   Cosmetic/Dermatolo                                         $24,870.00
   Va in /Tobacco                                              $7,275.27
   Beaut /S a                                                 $10,406.00
   Other   edicaUFitness/Fertilit /O tometr                    $2,682.00
   Cash withdrawals                                           $66,838.98
                                              TOTAL          $169,380.58

        The Defendants Are Improperly Transferring Investor Funds
          to the ReliefDefendants, Which They Own and Control.

      91.    Nanotech transferred a total of at least $1,536,275 to entities in which

the Defendants had a beneficial interest.

Transfers to Nanotech Finance

      92.    Nanotech transferred a total of at least $650,000 to Nanotech Finance

via checks, as summarized in the chart below.

 Pa ments to Nanotech Finance
 Bank and artial account # Date                  T e of a ment         Amount
 1st Bank       6364         3/28/2019           COUNTER CHECK             $110,000.00
 lst Bank       6364         4/29/2019           Check Paid                 $92,474.00
 1st Bank       6364          5/7/2019           Check Paid                 $17,950.00
 1st Bank       6364         6/13/2019           Check Paid                $150,000.00
 1st Bank       6364          7/3/2019           Check Paid                $128,000.00
 1st Bank       6364         7/31/2019           Check Paid                  $1,112.00
 1st Bank       6364         8/16/2019           Check Paid                $127,525.00
 lst Bank       6364        10/15/2019           Check Paid                 $25,000.00
                                                 TOTAL                     $652,061.00




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      93.     Nanotech Finance only received $300 in incoming funds from sources

other than Nanotech.

      94.     Nanotech Finance is owned and controlled by Gange.

      95.     Nanotech Finance's most recent bank records reflect that is a single

member LLC, and that the sole signer on the account is Gange. Gange also signed

documents submitted to the bank that identified Gange as the "Secretary /Member

/ Manager" of Nanotech Finance.

      96.     Nanotech Finance's bank records indicate that after Nanotech Finance

received investor funds from Nanotech, $5,000 was transferred to Michael Sweaney,

$10,500 was transferred to Gange, and $12,000 was withdrawn as cash.

      97.     Additionally, a $457,394.75 check issued from a Nanotech Finance

account on July 23, 2019 remains outstanding and uncashed. Its whereabouts are

not known to the SEC.

Transfers to Omni Golf

      98.     Nanotech transferred total of at least $400,000 to Omni Golf via checks

as shown by the chart below.

Pa ments to Omni Golf
Bank and artial account #                 Date    T e                  Amount
1st Bank       8930                   9/24/2018   Check Paid         $15,000.00
lst Bank       8930                   9/25/2018   Check Paid          $1,000.00
lst Bank       8930                  11/16/2018   Check Paid         $20,000.00
1st Bank       8930                  12/17/2018   Check Paid         $30,000.00
1st Bank       8930                   1/30/2019   Check Paid          $6,000.00
1st Bank       8930                   2/22/2019   Check Paid         $23,000.00
1st Bank       6364                   3/20/2019   Check Paid         $25,000.00
1st Bank       6364                   3/21/2019   Check Paid         $25,000.00
1st Bank       6364                   3/22/2019   Check Paid         $25,000.00



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 Pa ments to Omni Golf
 Bank and artial account #               Date    T e                Amount
 1st Bank       6364                 4/18/2019   Check Paid       $40,000.00
 1st Bank       6364                 5/13/2019   Check Paid       $25,000.00
 1st Bank       6364                 5/24/2019   Check Paid       $25,000.00
 1st Bank       6364                  6/4/2019   Check Paid       $20,000.00
 1st Bank       6364                 6/14/2019   Check Paid       $20,000.00
 1st Bank       6364                 6/25/2019   Check Paid       $20,000.00
 1st Bank       6364                 7/11/2019   Check Paid       $20,000.00
 1st Bank       6364                 7/31/2019   Check Paid       $17,882.00
 1st Bank       6364                 8/15/2019   Check Paid       $12,860.00
 1st Bank       6364                 8/26/2019   Check Paid       $14,951.00
 1st Bank       6364                 9/26/2019   Check Paid       $15,870.00
                                                 Total           $401,563.00


      99.     Omni Golf only received $89,216 from sources other than Nanotech.

      100. Omni Golf is controlled by Gange.

      101. A Statement of Information for Omni Golffiled with the California

Secretary of State on February 28, 20181ists Gange as the sole member/manager of

Omni Gol£ Gange signed this Statement of Information.

      102. An Articles of Organization for Omni Golf filed with the California

Secretary of State on February 6, 2018 was also signed by Gange as the "Organizer"

of Omni Golf.

      103. In connection with opening a bank account for Omni Golf on

September 21, 2018, Gange signed multiple documents on behalf of Omni Golf,

including a certification that he was the CEO of Omni Golf and authorized to act on

behalf of Omni Golf.

      104. Once funds were transferred from Nanotech to Omni Golf, at least

$18,000 was transferred to Gange, and other funds were used to purchase at least


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$112,000 in golf equipment, and at least $146,000 was used for "payroll" to

unknown persons.

Transfers to 3 Dragons

      105. Nanotech transferred $480,000 to 3 Dragons via checks and one cash

transfer, as shown by the chart below.

Pa ments to 3 Dra ons LLC
Bank and Partial Account #      Date T e                           Amount
1st Bank 8930               4/27/2018 Check Paid                     $11,000.00
1st Bank 8930               5/23/2018 Check Paid                     $50,000.00
1st Bank 8930                7/6/2018 Check Paid                      $2,500.00
1st Bank 8930               7/25/2018 Check Paid                      $3,729.00
1st Bank 8930                8/7/2018 Check Paid                      $2,500.00
1st Bank 8930               8/13/2018 Check Paid                     $30,000.00
1st Bank 8930               8/31/2018 Check Paid                      $2,500.00
1st Bank 8930               8/31/2018 Check Paid                      $7,500.00
1st Bank 8930               8/31/2018 Check Paid                      $7,500.00
1st Bank 8930                9/6/2018 Cash Withdrawal                 $3,800.00
1st Bank 8930               9/21/2018 Check Paid                     $49,600.00
1st Bank 8930               10/1/2018 Check Paid                      $2,500.00
1st Bank 8930              10/26/2018 Check Paid                    $305,000.00
1st Bank 8930               2/26/2019 Check Paid                      $3,218.69
1st Bank 6364               5/28/2019 Check Paid                      $1,303.42
                                      Total                         $482,651.11


      106. 3 Dragons is controlled by David Sweaney and two other individuals.

      107. 3 Dragons only received $264,687 from sources other than Nanotech.

      108. 3 Dragons' Articles of Organization were filed with the Colorado

Secretary of State on September 18, 2015. The documents list a woman with the

last name "Sweaney" as 3 Dragons' Organizer, and lists two additional3 Dragons'

members, including David Sweaney. David Sweaney is listed as having the same

home address as the Organizer.


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      109. Documents from 3 Dragons' bank account list David Sweaney as the

sole signatory on the account.

      110. Once funds were transferred from Nanotech to 3 Dragons, funds were

then transferred back to David Sweaney ($32,410) and Michael Sweaney ($189,904),

plus additional transfers to other persons with the last name Sweaney.

                                 The Fraud Is Ongoing

      111. Nanotech continues to solicit and receive investor funds, including the

recent transactions listed below (all of which are in addition to the amounts

described above):

            • An October 28, 2019 incoming wire for $112,000 (equal to the

                purchase price of 40,000 shares);

            • A November 15, 2019 check for $28,000 deposited (with the

                notation "10,000 shares");

            • A November 15, 2019 deposit for $28,000 (equal to the purchase

                price of 10,000 shares); and

            • A November 22, 2019 incoming wire for $27,980 (potentially for the

                purchase of 10,000 shares minus a wire transaction fee).

      112. The Defendants also continue to divert funds, including the recent

transactions listed below (all of which are in addition to the amounts described

above):

            • Spending $3,160 on dermatology on October 25, 2019;




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             • Wiring over $15,000 to two entities with the same address as David

                Sweaney on November 6, 2019; and

             • Spending $6,849.38 at Ferrari and Maserati of Newport Beach on

                November 14, 2019.

      113. During the course of the scheme, the Defendants and Relief

Defendants have engaged in a practice of opening and closing different bank

accounts. If the emergency relief sought in this Complaint is not granted, investor

funds may be dissipated or transferred to unknown accounts, and investors may not

be able to recover their investments from the Defendants.

      114. For example, the cashier's check for $457,394.75 of investor money

improperly transferred to Nanotech Finance remains outstanding and uncashed. Its

whereabouts are presently unknown.


                                 CLAIMS FOR RELIEF

                                       COUNT I
                Violations of Section 17(a) of the Securities Act
                               (All Defendants)

      115. The SEC realleges and incorporates by reference each allegation in

paragraphs 1 through 114, inclusive, as if they were fully set forth herein.

      116. By engaging in the conduct that is described above, the Defendants

knowingly, recklessly, or negligently in connection with the offer or sale of

securities, by the use of the means or instruments of transportation, or

communication in interstate commerce or by use of the mails, directly or indirectly:

          c. employed devices, schemes, or artifices to defraud;
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           d. obtained money or property by means of untrue statements of material

              facts, or omissions to state material facts necessary in order to make

              the statements made,in light of the circumstances under which they

              were made, not misleading; and/or

           e. engaged in transactions, practices, or courses of business which

              operated or would operate as a fraud or deceit upon the purchaser.

      117. By engaging in the foregoing conduct, the Defendants violated, and

unless enjoined will continue to violate, Securities Act Section 17(a)[15 U.S.C. §

77q(a)]-


                                       CouNT II
Violations of Section 10(b) of the Exchange Act and Rule lOb-5 Thereunder
                             (All Defendants)

      118. The SEC realleges and incorporates by reference each allegation in

paragraphs 1 through 114, inclusive, as if they were fully set forth herein.

      119. By engaging in the conduct described above, the Defendant knowingly

or recklessly, in connection with the purchase or sale of securities, directly or

indirectly, by use the means or instrumentalities of interstate commerce, or the

mails, or the facilities of a national securities exchange:

             (a)    employed devices, schemes or artifices to defraud; and

             (b)    made untrue statements of material facts or omitted to state

                    material facts necessary in order to make the statements made,

                    in light of the circumstances under which they were made, not

                    misleading; and/or



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             (c)    engaged in acts, practices, or courses of business which operated

                    or would operate as a fraud or deceit upon any person in

                    connection with the purchase or sale of any security.

      120. By engaging in the foregoing conduct the Defendant violated, and

unless enjoined will continue to violate, Section 10(b) of the Exchange Act [15

U.S.C. § 78j(b)] and Rule lOb-5 [17 C.F.R. § 240.10b-5], thereunder.


                               CourrT III
   Aiding and Abetting Violations of Section 17(a) of the Securities Act
(Defendants Michael James Sweaney,David Sweaney and Jeffery Gange)

      121. The SEC realleges and incorporates by reference each allegation in

paragraphs 1 through 114, inclusive, as if they were fully set forth herein.

      122. As alleged above, Defendant Nanotech and others violated Section

17(a) of the Exchange Act [15 U.S.C. § 77q(a)].

      123. Through their deceptive conduct, misstatements, misappropriation of

funds and other means alleged above, Defendants Michael Sweaney, David

Sweaney and Gange knowingly provided substantial assistance to, and thereby

aided and abetted, Defendant Nanotech's violations of the securities laws.

      124. By engaging the in the foregoing conduct, pursuant to Securities Act

Section 15(b)[15 U.S.C. § 77o(b)], Defendants Michael Sweaney, David Sweaney

and Gange violated, and unless enjoined will continue to violate violated Section

17(a) of the Securities Act [15 U.S.C. § 77q(a)].




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                                COUNTIV
 Aiding and Abetting Violations of Section 10(b) of the Exchange Act and
                         Rule lOb-5 Thereunder
(Defendants Michael James Sweaney, David Sweaney and Jeffery Gange)

      125. The SEC realleges and incorporates by reference each allegation in

paragraphs 1 through 114, inclusive, as if they were fully set forth herein.

      126. As alleged above, Defendant Nanotech and others violated Section

10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule lOb-5 [17 C.F.R. § 240.10b-

5], thereunder.

      127. Through their deceptive conduct, misstatements, misappropriation of

funds and other means alleged above, Defendants Michael Sweaney, David

Sweaney and Gange knowingly provided substantial assistance to, and thereby

aided and abetted, Defendant Nanotech's violations of the securities laws.

      128. By engaging the in the foregoing conduct, pursuant to Exchange Act

Section 20(e)[15 U.S.C. § 78t], Defendants Michael Sweaney, David Sweaney and

Gange violated, and unless enjoined will continue to violate violated Section 10(b) of

the Exchange Act [15 U.S.C. § 78j(b)] and Rule lOb-5 [17 C.F.R. § 240.1Ob-5],

thereunder.


                                      COUNT V
                          Unjust Enrichment Liability
                             (Relief Defendants)

      129. The SEC realleges and incorporates by reference each allegation in

paragraphs 1 through 114, inclusive, as if they were fully set forth herein.




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       130. Relief Defendants Nanotech Finance, Omni Golf, and 3 Dragons have

obtained funds as part, and in furtherance, of the securities law violations alleged

above, and under circumstances in which it is not just, equitable, or conscionable for

these entities to retain the funds. As a result, these Relief Defendants have been

unjustly enriched.

                                 PRAYER FOR RELIEF

       WHEREFORE,the SEC respectfully requests that the Court enter an

emergency, temporary, and preliminary order against the Defendants:

 i.    temporarily freezing the Defendants' and Relief Defendants' assets;

 ii.   ordering the Defendants and Relief Defendants to show cause why a

       preliminary injunction freezing such assets should not be entered;

iii.   requiring the Defendants and Relief Defendants to provide a verified

       accounting identifying:

          a. the location and disposition of all funds received from investors;

          b. the location and disposition of all accounts controlled by the

             Defendants or held for their benefit; and

          c. the location and value of all investor assets, as well as personal or

             other assets currently held by the Defendants, or under their control or

             over which they may exercise actual or apparent authority.

iv.    prohibiting the Defendants from destroying, altering, or concealing records of

       any kind; and

 v.    ordering expedited discovery.
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       Further, the SEC respectfully requests that the Court enter a final judgment:

                                            I.

      Permanently restraining and enjoining all Defendants from, directly or

indirectly, violating Section 17(a) of the Securities Act [15 U.S.C. § 77q(a), and

Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule lOb-5 thereunder

[17 C.F.R. § 240.1Ob-5];

                                         II.

       Ordering all Defendants and all Relief Defendants to disgorge all ill-gotten

gains or unjust enrichment derived from the activities set forth in this Complaint,

together with prejudgment interest thereon;

                                        III.

      Enter an order requiring the Defendants to pay civil penalties pursuant to

Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d) of the

Exchange Act [15 U.S.C. § 78u(d)].

                                        IV.

      Enter an Order barring Michael Sweaney, David Sweaney, and Jeffery Gange

from serving as an officer or director of a public company pursuant to Section

21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)].

                                            V.

       Granting such other and further relief as this Court may deem just,

equitable, or necessary in connection with the enforcement of the federal securities

laws and for the protection of investors.




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                                       VI.

      Retaining jurisdiction of this action for purposes of enforcing any final

judgments and orders.



                                   rTURY DEMAND

      Pursuant to Rule 39 of the Federal Rules of Civil Procedure, Plaintiff

demands that this case be tried to a jury.

                                       Respectfully submitted,


                                       Gregory o kin (D.C. Bar No. 450885)
                                       Christop    Bruckmann (D.C. Bar No.
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                                      Pei Chung (Local Rule 83.2(e) certification
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                                       U.S. Securities and Exchange Commission
Dated: December 5, 2019
